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                            KEvlN T. CONWAY, ESQ.
                              ATTORNEY AT LAW
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Tel: (845) 352-0206                                          Paramus, NJ 07652
Fax: {845) 352-0481                                          Tel: {201) 928-1100
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                                                             Of Counsel:
Of Counsel:                                                  Sheri A. Vodowitz, Esq.
Paul S. Chiaramonte, Esq.                                    Licensed in N.Y.
Licensed in N.Y. and N.J.


                                                       May 15, 2025
Via ECF and e-mail
Honorable Kenneth M. Karas
U.S. District Judge
Southern District of New York
United States Courthouse
300 Quarropas Street
White Plains, NY 10601

                 Re:    United States v. Mario Stewart
                        23 er. 361 (KMK) - Request for Permission to Travel - AMENDED

Dear Justice Karas:

Counsel is the private attorney for the Defendant, Mario Stewart, in the above referenced
matter. This letter motion seeks permission from the Court for the following proposed travel plan for
Mr. Stewart, his wife, Nyaca Stewart, and their children:

         Mr. Stewart is requesting permission to travel with his family to Orlando, Florida on Friday,
         May 30, 2025 returning Monday, June 2, 2025. He is scheduled to stay at 2087 Heart Lake
         Drive, Groveland, FL 34 736.

Annexed hereto for the Court's review please find the flight itinerary for Mr. Stewart and his family.
Please note that Ms. Vanessa Perdomo of Pre-Trial Services and Jared Hoffman, E sq ., of the U.S.
Attorney's Office have been advised of the aforesaid request and have no objection.

Thank you for your consideration and attention.

WHEREFORE, counsel respectfully requests that this Court grant Defendant' s Letter Motion for
permission to travel as set forth herein.
      Granted.
                                                       Respectfully submitted,

                                                       Isl Kevin T. Conway, Esq . (KC-3347)
                                                       60 South Main Street, Suite 11
                                                       New City, NY 10956
                                                       (845) 352-0206
KTC : sf                                               kconway@ktclaw.com

cc:      Jared D. Hoffman, Esq., AUSA
         Ms. Vanessa Perdomo, Pre-Trial Services
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  From: JetBlue Reservations
         jetblueairways@email.jetblue.com
Subject: JetBlue booking confirmation for MARIO STEWART
         - EGKBRJ
  Date: May 6, 2025 at 11:13:41
     To: mastew78@gmail.com
     Check out the details for your trip on Fri, May 30


    jetBlue

      You're all
      set to jet.
       Thanks for choosing JetB lue . Get ready to enjoy
       the most legroom in coach *, free wi-fi &
       entertainment, and free snacks & drinks.




                        Your Flight Itinerary
                 Your JetBlue confirmation code is EGKBRJ



       JFK ► MCO                  Flight 383              Fri, May 30   Fri, May 30

                                                          8:55pm        11:53pm
       jetBlue·                                           Terminal: 5
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 MCO ► JFK              Flight 884                    Mon, Jun 02        Mon , Jun 02

                                                      8:40pm             11:26pm
 jetBlue·                                             Terminal: C




               Get the latest entry and travel requirements for your trip .


Beginning May 7, 2025, you will need a state-issued REAL ID-compliant license or
identification card, or another acceptable form of ID (such as a passport), to fly within
the United States.




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               Your Traveler Details


        MARIO STEWART
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    New York
                      TrueBlue Number:         Flight# 383
    JFK
       -
    Orlando

    MCO
                      Add TrueBlue #


                      Ticket number:
                      2792181763937
                                               Fare: Blue Basic

                                               Seat: Select seat




                          Manage my booking




    Orlando
                      TrueBlue Number:         Flight# 884
    MCO
       -
    New York

    JFK
                      Add TrueBlue #


                      Ticket number:
                      2792181763937
                                               Fare: Blue Basic

                                               Seat: Select seat




                          Manage my booking




     Bag Allowance (per traveler)


     JFK ► MCO
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     Personal Item                Carry-on                1st Bag                2nd Bag


     Free                            Free                   From                    From
                                                             $35 *                   $50 *
                                                          Up to 50 lbs            Up to 50 lbs
                                                       Add bag now             Add bag now




     MCO ► JFK

     Personal Item                Carry-on                1st Bag                2nd Bag


     Free                            Free                   From                    From
                                                             $35*                    $so·
                                                          Up to 50 lbs            Up to 50 lbs
                                                        Add bag now            Add bag now



     Size and weight limits arm.!Y.- See full details on our Bag Info P-agg ►

     Additional charges may apply.

     *The above prices reflect early pre-paid bag purchase available online now and until 24
     hours before departure . Bag fees are higher during check-in . Visit our Bag Info page for
     details.




        Need to check more than 2 bags? Additional bags can be added during
        check-in (starting 24 hours before departure) or at the airport.
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           Payment Details

           Master XXXXXXXXXXXX:7900        Credit Card                   $182.97

                                           Non Refundable                $141.74
                                          Taxes & fees                    $41.23
           Purchase Date: May 6, 2025
           Reguest full receipt
                                           Total                     $182.97 USO




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seats (fee applies), update TrueBlue &
Known Traveler numbers, and other
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traveler details-all in one place. Stay safe
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to a cancel fee of $100 for travel wholly within the U.S., Caribbean, Mexico or
Central America, or $200 for all other routes.
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Fare difference may apply and funds may be in the form of a JetBlue travel credit,
valid for 12 months from original ticketing date. Same-day switches may be made
without a fare difference for $75 (excludes Blue Basic fares). Click here for details
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                                     Get ready for your upcoming trip with a
                                     free checked bag when you apply and
                                     get approved for the JetBlue Plus Card.



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*Based on avg. fleet-wide seat pitch of U.S. airlines.

**Does not apply to flights under 250 miles or with no inflight service. Max 3 free alcoholic drinks per
flight, 21+ . Can't be combined with other free drink perks or offers. (Transatlantic flights already
include free beer, wine & liquor).

CUSTOMER CONCERNS
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Have a question or concern? Contact us at jetblue.com/contact-us. Or mail us at JetBlue, 27-01
Queens Plaza North , Long Island City, NY 11101 .

NOTICE OF INCORPORATED TERMS
All travel on JetBlue is subject to JetBlue's Contract of Carriage , the full terms of wh ich are
incorporated herein by reference , including but not restricted to: (i) Limits on JetBlue's liability for
personal injury or death, and for loss, damage, or delay of goods and baggage, including special rules
for fragile and perishable goods; (ii ) Claims restrictions , including time periods within which you must
file a claim or bring an action against JetBlue; (iii) Rights of JetBlue to change the terms of the
Contract of Carriage ; (iv) Rules on reservations , check-in , and refusal to carry; (v) JetBlue's rights and
limits on its liability for delay or failure to perform service , including schedule changes , substitution of
aircraft or alternate air carriers, and rerouting; (iv) Non-refundability of reservations. International travel
may also be subject to JetBlue's International Passenger Rules Tariffs on file with the U.S. Department
of Transportation and , where applicable , the Montreal Convention or the Warsaw Convention and its
amendments and special contracts. The full text of the Contract of Carriage is available for inspection
at www.jetblue.com and all airport customer service counters. Tariffs may also be inspected at all
airport customer service counters. You have the right to receive a copy of the Contract of Carriage and
tariffs by mail upon request.

EMPLOYEE ASSAULT PREVENTION AND RESPONSE
It is a violation of federal law to assault an airport, air carrier, or federal employee within the airport.
Any customer who physically or verbally assaults a JetBlue crewmember or business partner while
conducting their duties within the airport will be referred to law enforcement.

NOTICE OF INCREASED GOVERNMENT TAX OR FEE
JetBlue reserves the right to collect additional payment after a fare has been pa id in full and tickets
issued for any additional government taxes or fees assessed or imposed .

CARRY-ON BAG RULES
All travelers may board with one (1) small personal item , such as a purse, briefcase, laptop computer
case , small backpack, or a small camera , wh ich must fit completely under the seat in front of you .
Travelers are permitted one (1) carry-on item that must be placed in the overhead bin (if space is
available) and not exceed external dimensions of 22in x 14in x 9in. Please visit www.jetblue .com/bags
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number of carry-on items as circumstances may require.

CHECKED BAGGAGE ALLOWANCE/FEES
For off-peak Blue/Blue Basic/Blue Extra fares, first checked bag is $45, second bag is $60 , and th ird
bag is $125. For off-peak Blue Plus, first checked bag is included and second bag is $60. For Blue
Plus fares, one checked bag is included and the second checked bag fee is $60. For Mint fares , two
checked bags are included . For TrueBlue Mosaic members: two checked bags are included . For
JetBlue Plus cardmembers , one checked bag is included and the second checked bag fee is $45 . You
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can add up to 2 checked bags in advance (more than 24 hours before departure) and save $10 on
each bag fee . For all off-peak fares: additional bags (over three) are $150 each. Separate baggage
allowances and fees apply to UK/Europe flights: For off-peak Blue Basic fares, the first checked bag
fee is $65/£55/€60 and the second checked bag fee is $105/£85/€95. For off-peak Blue, Blue Plus and
Blue Extra , one checked bag is included and the second checked bag fee is $105/£85/€95 . For Mint
fares: two checked bags are included. For all off-peak fares , any additional bags are $200/£150/€185
each. All bags are subject to size/weight restrictions. Other fees apply for oversized or overweight
baggage. View i:2eak-season bag_i:2ricing and travel dates. Excess baggage rules and size/weight
restrictions may vary depending on load availability and country restrictions. See www.jetblue.com/
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*For itineraries with a connection only to/from Cape Air, JetBlue's standard fees apply.

CHECK-IN TIMES
For domestic travel, customers traveling with checked baggage must obtain a boarding pass and
check their baggage no less than forty (40) minutes prior to scheduled departure and be onboard the
aircraft no less than fifteen (15) minutes prior to the scheduled or posted departure time. Customers
traveling without checked baggage must obtain a boarding pass no less than thirty (30) minutes prior
to scheduled departure and be onboard the aircraft no less than fifteen (15) minutes prior to scheduled
or posted departure time. For international travel, all customers must obtain a boarding pass and
check their baggage no less than sixty (60) minutes prior to scheduled departure and be onboard the
aircraft no less than fifteen (15) minutes prior to the scheduled or posted departure time.

DOCUMENTATION REQUIREMENTS
For domestic travel, customers over the age of 18 must present government-issued photo
identification that includes a tamper resistant feature, name, date of birth, gender, and expiration date .
Documents required for international travel vary according to country of travel, citizenship, residency,
age, length of stay, purpose of visit, etc., and customers should contact the embassy or consulate in
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It is your responsibility to ensure you have the required documentation for travel. JetBlue reserves the
right to deny boarding to anyone without proper documentation and is not responsible for any failure
by you to have the required documentation for entry into a foreign country or return into the United
States.

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ADVICE TO INTERNATIONAL PASSENGERS ON LIMITATION OF LIABILITY
Passengers on a journey involving an ultimate destination or a stop in a country other than the country
of departure are advised that international treaties known as the Montreal Convention, or its
predecessor, the Warsaw Convention, including its amendments, may apply to the entire journey,
including any portion thereof within a country. For such passengers, the treaty, including special
contracts of carriage embodied in applicable tariffs, governs and may limit the liability of JetBlue in
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delay of passengers and baggage. If your journey also involves carriage by other airlines, you should
contact them for information on their limits of liability. Please refer to JetBlue's Contract of Carriage for
additional information, including the limits of liability for services provided in the European Union .

NOTICE OF OVERBOOKING OF FLIGHTS
In the event that a flight is overbooked, no one will be denied a seat until airline personnel first ask for
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there are not enough volunteers, JetBlue will deny boarding to other persons in accordance with its
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boarding priorities (also available at all airport ticket counters and boarding locations). Some airlines
do not apply these consumer protections to travel from some foreign countries, although other
consumer protections may be available. Check with your airline or your travel agent.




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